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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                     *                   CIVIL ACTION
                                          *                   No. 12-00859
VERSUS                                    *
                                          *                   HON. LANCE M. AFRICK
MARLIN GUSMAN, ET AL.                     *                   SECTION: I
                                          *
                                          *                   MAG. MICHAEL B. NORTH
                                          *                   SECTION: 5
* * * * * * * * * * * * * * * * * * * * * *

     MEMORANDUM IN SUPPORT OF MOTION TO TERMINATE CONSENT DECREE
    PURSUANT TO 18 U.S.C. §3626(b) AND MOTION TO TERMINATE THE STIPULATED
     ORDER FOR APPOINTMENT OF INDEPENDENT JAIL COMPLIANCE DIRECTOR

MAY IT PLEASE THE COURT:

            Defendant, Marlin N. Gusman, Sheriff of the Parish of Orleans (hereinafter referred to as

“Sheriff Gusman” or “OPSO”), respectfully moves this Honorable Court to terminate the Consent

Decree (R. Doc. 466) pursuant to 18 U.S.C. §3626(b) and, further, to terminate the Stipulated Order

for Appointment of Independent Jail Compliance Director (hereinafter referred to as the “Stipulated

Agreement”) (R. Doc. 1082). For the reasons more fully detailed herein, OPSO has reached

compliance with the provisions of the Consent Decree and the continued enforcement of the Consent

Decree violates 18 U.S.C. §3626, the Prison Litigation Reform Act, warranting termination.

       I.      INTRODUCTION

            The Consent Judgment (hereinafter referred to as the “Consent Decree”) was executed on

June 6, 2013 in response to ongoing litigation regarding the alleged unconstitutional conditions of

confinement at OPSO.1 This litigation was the result of a 2012 Class Action Complaint filed by the

Southern Poverty Law Center on behalf of prisoners detained in the Orleans Parish Prison

(“Plaintiffs’ Complaint”)2. Plaintiffs’ Complaint alleged, inter alia, that the conditions of


1
    See Consent Decree, R. Doc. 466.
2
    See Plaintiffs’ 2012 Complaint, R. Doc. 1.
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confinement at OPSO placed inmates in imminent risk of serious harm and failed to meet their basic

fundamental rights under the Constitution. When it was executed, the Consent Decree was intended

to be a guiding roadmap for ensuring OPSO and its then dilapidated jail facilities would be improved

to meet the standards for constitutional compliance as set forth in the Prison Litigation Reform Act

(“PLRA”). Since then, OPSO has made drastic and unprecedented steps improving its operations

and jail facility. Despite this significant progress, however, the Consent Decree is presently being

implemented in a manner that demands prospective relief which far exceeds the constitutional

minimum standards under the PLRA.

         The PLRA, 18 U.S.C. §3626, establishes a comprehensive set of standards to govern

prospective relief in prison condition cases. It provides that prospective relief shall “extend no

further than necessary to correct the violation of the Federal right of a particular plaintiff or

plaintiffs.”3 Relief must be narrowly drawn, extend no further than necessary to correct the violation,

and be the least intrusive means necessary to correct the violation.4 Further, courts must “give

substantial weight to any adverse impact on public safety or the operation of a criminal justice system

caused by the relief.”5 The PLRA represents the statutory authority enacted by the United States

Congress to achieve several goals in prison litigation. Primarily, the PLRA has been enacted to

prevent federal courts from micromanaging prisons by consent decrees and to return control of the

prison system from courts to “the elected officials accountable to the taxpayer.”6 “[N]o longer may

courts grant or approve relief that binds prison administrators to do more than the constitutional

minimum.”7 This, therefore, is the standard by which OPSO must be judged.

         OPSO is in compliance with the Consent Decree based on the applicable constitutional



3
  18 U.S.C. §3626(a)(1).
4
  Id.
5
  Id.
6
  Gilmore v. California, 220 F.3d 987, 996 (9th Cir. 2000).
7
  Id. at 999.
                                                              2
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minimum standards in the PLRA. There are no current or ongoing federal violations of inmates’

constitutional rights that warrant the continued enforcement of this Consent Decree. The Consent

Decree was executed to correct the alleged constitutional violations as they existed at the time of

Plaintiffs’ Complaint in 2012. Those alleged federal violations were the result of a different time

under a different organizational structure, wherein overpopulation plagued an understaffed and

under-resourced office operating in decaying jail facilities. Those conditions no longer exist. The

alleged constitutional violations from 2012 have been remedied by means far exceeding the

constitutional minimum demanded under the PLRA. Continued enforcement of the Consent Decree

seeks a jail utopia, reflective of the Court appointed Monitors’ personal preferences and idealistic

aspirations, not the “narrowly drawn…least intrusive means necessary to correct the violation”

requirement that controls prospective relief for jail conditions.

           The Monitors, appointed by the Court to assess OPSO’s compliance with the Consent Decree,

are not applying the proper legal standard under the PLRA. Instead, they are requiring OPSO to

meet a standard of unwavering perfection, which is not the law. For example, OPSO’s inexplicable

“Partial Compliance” with Section IV.A.5.f. of the Consent Decree illustrates the improper standards

the Monitors have placed on OPSO. This Section of the Consent Decree encompasses surveillance

in the jail and provides that OPSO must: “Increase the use of overhead video surveillance and

recording cameras to provide adequate coverage throughout the common areas of the jail, including

the Intake Processing Center, all divisions’ intake areas, mental health units, special management

units, prisoner housing units, and in the divisions’ common areas.”8 At the time when this language

was drafted, OPSO was housing inmates in the former dilapidated Orleans Parish Prison (“OPP”)

facility, which had only twenty-four (24) outdated and poorly working cameras. The recently

constructed state-of-the-art Orleans Justice Center (“OJC”), which now houses the inmates, has over


8
    See Section IV.A.5.f of the Consent Decree, R. Doc. 466.
                                                               3
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nine hundred (900) ultra-modern cameras operating throughout the facility including all locations

required by the Consent Decree. Since OPSO increased the number of jail cameras from 24 to 900,

in all locations described in the Consent Decree, it is unquestionably in Substantial Compliance with

the jail camera provision. The Monitors, however, have refused to find OPSO in Substantial

Compliance with this provision for the last two years because, on occasion, technical issues occur

with the camera system and every single one of the 900 cameras may not work simultaneously.9 The

jail camera provision of the Consent Decree does not set forth that technical issues with the cameras

would result in Non or Partial Compliance. It simply calls for the increased use of overhead video

surveillance and recording cameras throughout the common areas of the jail, which OPSO has

indisputably accomplished.

          The jail camera issue is just one of many instances that exposes the unattainable and improper

standard to which OPSO is being held by the current Monitors. OPSO and the City have spent 7

years, 11 Monitors, 2 Compliance Directors, and $3,740,723.3810 in monitoring fees yet the Monitors

claim to have only brought OPSO into Substantial Compliance with 59% of the Consent Decree.11

The progress at OPSO since 2012 is undeniable, and there are no current and ongoing violations at

OPSO which warrant the overly broad, highly intrusive Consent Decree to continue. As such, this

Honorable Court should grant this Motion to Terminate, and bring an end to the Consent Decree.

    II.      PROCEDURAL AND FACTUAL HISTORY

          A. State of the Jail Pre-Sheriff Gusman and the Progress Thereafter



9
  Of note, several district courts have even refused to order the installation of video cameras to increase inmate security,
finding that “[A] proposed order directing the installation of security cameras – is beyond the narrow scope permitted
by the PLRA.” Houston v. Collerman, 2016 WL 6267968 at *12 (N.D.N.Y. Oct. 26, 2016). See also Oliver v. Gafford,
2016 WL 3247618 at *3 (N.D. Fla. May 9, 2016); Begay v. United States, 2015 WL 1540982, at *5 (D. Colo. Apr. 1,
2015); Deas v. Ingham Cty. Jail, 2018 WL 3853521, at *4 (W.D. Mich. Aug. 14, 2018); Stockenauer v. Ball, 2015 WL
4509130, at *6 (E.D. Mich. July 24, 2015).
10
   As of the date of filing, the Court appointed Monitors have billed $3,740,723.38 for their services from 2013 to present.
See Declaration of Elizabeth Boyer, attached hereto as Exhibit 1.
11
   See Monitors’ Report No. 11, R. Doc. 1259.
                                                              4
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       Understanding OPSO’s past is necessary to understand the substantial progress it has

achieved. In 1969, a class action was filed regarding conditions of confinement at the Orleans Parish

jail system. The original title of that case reveals the longevity of the litigation: Hamilton v. Schiro,

ELDA Docket No. 69-243. That consent decree litigation continued for nearly forty years until 2008.

During this time, numerous consent decrees regarding various conditions of confinement were

confected.

       The current Orleans Parish Sheriff, Marlin Gusman, was elected by the public in 2004. This

historic election made Sheriff Gusman the first African American Sheriff in the (then) 286-year

history of the City of New Orleans. However, the change was more than symbolic. Sheriff Gusman

ushered in a new and compassionate era of corrections in Orleans Parish. Before Sheriff Gusman’s

arrival, OPSO received a per diem or pre-determined amount of money for each day that each inmate

was housed in an Orleans Parish jail. This meant that OPSO received more revenue for housing

more inmates – and that OPSO received more money the longer they held inmates. This created an

incentive to increase the inmate population and to hold those inmates in jail longer. Under this per

diem system, the prior Sheriff amassed a plethora of inmates as the inmate population ballooned to

6,500 inmates. To accommodate the increased population, the prior Sheriff increased the capacity

of existing jail buildings and acquired other neighborhood properties (e.g. hotel, school, office

buildings) to convert them into additional jail buildings. These buildings were almost entirely run-

down facilities that were housing inmates in conditions that were arguably unsafe for both the

inmates and the staff guarding them. Sheriff Gusman worked diligently over the years after taking

office and ultimately abolished this archaic and problematic long-standing per diem funding system

thereby removing the incentive to maintain such an enormous inmate population. Sheriff Gusman’s

commitment to humane treatment for inmates and an appropriate inmate population size led him to

change this decades long practice.

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         Sheriff Gusman further endeavored to reduce the inmate population and improve the physical

plant of the OPSO jail buildings. Unfortunately, nine months after his election, Hurricane Katrina

devastated the City of New Orleans. OPSO was not spared in the devastation. This meant that the

already old, crumbling, and overused buildings were now in even greater disrepair. Nevertheless,

Sheriff Gusman continued working towards his goal and dramatically reduced the inmate population

to the more reasonable level that it is today. Sheriff Gusman has also closed almost every old jail

building and the inmates of Orleans Parish are now housed in the new, state-of-the-art, Orleans

Justice Center (“OJC”).12

         B. Plaintiffs’ 2012 Class Action Complaint

         On September 11, 2009, the Department of Justice (“DOJ”) issued a Findings Letter13

following its investigation of conditions at OPP pursuant to the Civil Rights of Institutionalized

Persons Act (“CRIPA”), 42 U.S.C. §1997. CRIPA gives the DOJ authority to seek a remedy for a

pattern or practice of conduct that violates the constitutional rights of inmates in adult detention and

correctional facilities. The DOJ’s Letter acknowledged that OPSO was still recovering from the

devastating effects of Hurricane Katrina, and even commended the efforts of Sheriff Gusman and his

staff on their extraordinary efforts in repairing the facilities following Katrina.14 The DOJ’s Letter

ultimately concluded, however, that certain conditions at OPP violated the constitutional rights of

inmates.15

         On April 2, 2012, the Southern Poverty Law Center filed a class action complaint against



12
   The Temporary Detention Center (“TDC”) remains open for the purpose of housing work release inmates and inmates
with acute mental health needs. The use of TDC for these purposes was approved by this Court and the New Orleans
City Council.
13
   See DOJ’s September 11, 2009 Letter, attached hereto as Exhibit 2.
14
   Id. at p. 2.
15
   Id. Specifically, the DOJ’s Letter found that inmates confined at OPP were not adequately protected from harm,
including physical harm from excessive use of force by staff and inmate-on-inmate violence. In addition, the DOJ found
that inmates did not receive adequate mental health care, including proper suicide prevention. The Letter also found that
OPP inmates faced serious risks posed by inadequate environmental and sanitation conditions.
                                                            6
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Sheriff Gusman and OPSO on behalf of the prisoners detained in the Orleans Parish Prison. The

Plaintiffs’ Complaint was largely based on the DOJ’s 2009 Findings Letter.                The Plaintiffs’

Complaint alleged, inter alia, that the conditions of confinement at the jail were unconstitutional and

abusive to the inmates. On September 24, 2012, the United States, through the DOJ, intervened into

the legal proceedings and aligned its interests with the Plaintiffs. On October 1, 2012, OPSO brought

the City of New Orleans, who is responsible for funding the operations of the jail, into the case via a

third-party complaint.

           The allegations contained in Plaintiffs’ Complaint are necessary to analyze because, in

Plaintiffs’ own words, they “. . . describe conditions that currently exist and gives examples involving

specific individuals who are or were incarcerated at OPP. . ..”16 That is, Plaintiffs’ Complaint

describes and complains of unsafe and unconstitutional conditions as they existed in April 2012, over

eight years ago. The Complaint makes pointed, and specific allegations, which are no longer at issue

presently. This is a position Defendants, Plaintiffs, the Monitors, and the Court would agree. For

instance, Plaintiffs’ Complaint makes the following allegations:

                     Individuals housed at the jail are at imminent risk of serious harm.
                     Rapes, sexual assaults and beatings are common place throughout the
                     facility. The facility is full of homemade knives, or “shanks.” People
                     living with serious mental illnesses languish without treatment, left
                     vulnerable to physical and sexual abuse. These conditions have
                     created a public safety crisis that affects the entire City of New
                     Orleans. The jail is oversized, understaffed, and Sheriff Gusman’s
                     classification and security policies and practices are dangerously
                     deficient. The men and women housed there are at constant risk of
                     physical harm due to the presence of contraband and weapons in the
                     facility, which, coupled with the absence of meaningful mental health
                     services, places the lives of people incarcerated there in immediate
                     jeopardy.17

           Inmates are no longer in imminent risk of rapes, sexual assaults and beatings as alleged in



16
     See Plaintiffs’ Complaint, para. 42, R. Doc. 1.
17
     See Plaintiffs’ Complaint, para. 2, R. Doc. 1.
                                                       7
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Plaintiffs’ Complaint. Prisoners with mental illnesses are receiving sufficient, constitutionally

compliant, care at the OJC.            The jail is no longer oversized, grossly understaffed18, and the

classification and security policies and practices have been corrected and brought into constitutional

compliance. The conditions described in Plaintiffs’ Complaint do not represent current and ongoing

conditions in 2020.

         As will be more fully shown herein, in deciding OPSO’s requested relief, the Court must

consider evidence on current jail conditions.19 Evidence of current and ongoing violations must

reflect conditions “as of the time termination is sought.”20 Thus, the law does not permit this Court

to analyze the prospective relief requested under the Consent Decree based on past conditions and

violations nor can it predict future violations. It must look at the current conditions and make its

findings as to whether or not the prospective relief represents the constitutional minimum required

to cure the ongoing federal violation. If the violation has been cured, or if the prospective relief goes

beyond the constitutional minimum set forth in the PLRA, the provision must be terminated.

         C. The Consent Decree

         After months of litigation and negotiations, Sheriff Gusman determined that it would be in

OPSO’s best interest if it worked hand in hand with the DOJ, the City of New Orleans, and Plaintiffs

to improve the conditions of confinement in Orleans Parish. Sheriff Gusman was cognizant that the

dilapidated jail facilities and understaffing caused by budget constraints would not be easily fixed

without the cooperation of all parties involved. With these good faith intentions in mind, the parties

entered into the Consent Decree, which was signed by this Court and entered into the record on June

6, 2013.21



18
   The staffing issues in 2020, while they still exist, are nothing like the understaffing concerns that were raised in the
2012 Complaint.
19
   See Gilmore v. California, 220 F.3d 987-1010 (9th Cir. 2000).
20
   Id.
21
   See R. Doc. 466.
                                                              8
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           Despite the good intentions of Sheriff Gusman and OPSO, it quickly became apparent that

the provisions of the Consent Decree were extraordinarily broad and overreaching, and the DOJ and

Plaintiffs sought to hold Sheriff Gusman and OPSO to much different standards than what is

constitutionally required for a jail facility. Pursuant to the PLRA, “prospective relief in any civil

action with respect to prison conditions shall extend no further than necessary to correct the

violation of the Federal right of a particular plaintiff or plaintiffs. The court shall not grant or

approve any prospective relief unless the court finds that such relief is narrowly drawn, extends no

further than necessary to correct the violation of the Federal right, and is the least intrusive means

necessary to correct the violation of the Federal right.”22 The Consent Decree, which was drafted in

2013, was 44 pages long and encompassed approximately 174 areas of compliance that Sheriff

Gusman and OPSO are required to achieve “Substantial Compliance” with, all of which are evaluated

by the Court appointed Monitors. Simply put, the depth and breadth of the Consent Decree governing

OPSO goes far beyond requiring a constitutionally compliant jail facility. Again, the legal standard

for prospective relief under the PLRA is maintaining the constitutional minimum to correct the

federal wrong. Section IV(D)(1)(d) is an example of the Consent Decree’s overreach stating that

OPSO must, “ensure adequate lighting in all prisoner housing units and prompt replacement and

repair of malfunctioning lighting fixtures in living areas within five days, unless the item must be

specially ordered.” This is an actual provision included as one of the 174 areas of compliance within

the Consent Decree. Under this provision, if OPSO fails to replace a burnt-out lightbulb within 5

days, it is deemed non-compliant with the Consent Decree even though a burnt-out lightbulb does

not make the conditions of a jail unconstitutional. And yet, partial compliance with this provision

could prevent Sheriff Gusman and OPSO from being released from the Consent Decree.

           In Section XII. of the Consent Decree, the parties “stipulated” that, as of the time of


22
     18 U.S.C. §3626.
                                                  9
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execution, the provisions of the Consent Decree complied with the requirements set forth in the

PLRA. Sheriff Gusman now rejects this stipulation as no longer accurate. The Plaintiffs have not

complied with their obligations under this stipulation and have consistently required prospective

relief which blatantly violates the provisions of the PLRA. Thus, this “stipulation” in the Consent

Decree is null and void and has no bearing on the relief sought in this Motion. Furthermore, it is

well settled law that stipulations between parties are not binding on the Court. The Fifth Circuit

Court of Appeal has opined that “We note that we are not bound to accept stipulations as to questions

of law.”23 The law requires that the Consent Decree not be overly broad, be narrowly drawn, and be

the least intrusive means necessary to correct the violation of the federal right as required under the

PLRA. The opposite has proven true and the Monitor’s micro-managed enforcement of the Consent

Decree violates the PLRA and makes demands well outside of the constitutional requirements..

            The termination provisions of the Consent Decree, under Section XI(C), state that, “This

Agreement shall terminate when Defendant has achieved Substantial Compliance with each

provisions of the Agreement and has maintained Substantial Compliance with the Agreement for a

period of two years.” This is an unconstitutional and overly burdensome requirement. Under this

provision, OPSO could achieve perfection -which is not the legal standard- for 23 months, fall out

of Substantial Compliance with one of the 174 provisions of the Consent Decree, and be forced into

two more years of oversight. This provision violates the PLRA. Under the PLRA, a Consent Decree

is terminable upon the motion of any party or intervener two years after a district court has granted

or approved the prospective relief.24 This Court granted the Consent Decree sub judice nearly seven

years ago. Consequently, Sheriff Gusman is well within his legal rights to seek termination of the

Consent Decree without complying with the restrictive, legally unsupported, termination provision


23
   Equitable Life Assurance Soc. V. Macgill, 551 F.2d 978, 983 (5th Cir. 1977); Overton v. Austin, 748 F.2d 941, 957
(5 Cir. 1984); Provident Financial Inc. V. Strategic Energy L.L.C., 2010 WL 5093884, footnote 3 (5th Cir. 2010).
     th
24
   18. U.S.C. §3626(b).
                                                          10
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in Section XI(C) of the Consent Decree.

           D. Move into the Orleans Justice Center

           At the heart of the 2012 Complaint filed by Plaintiffs was the unconstitutional conditions of

confinement in OPP and several other jail facilities in the area.25 There was no dispute from Sheriff

Gusman that many of the jail facilities he inherited, specifically the OPP building, were in ruin. Upon

his first election, Sheriff Gusman inherited jail facilities that were already beyond repair. This fact

was exacerbated by the devastation wreaked on these already corroded facilities during Hurricane

Katrina. Following Katrina, the Federal Emergency Management Agency (“FEMA”) allocated

funds for the construction of a new jail facility. By the time Plaintiffs filed their Complaint in 2012,

plans were already underway for the construction of the new jail facility. All parties understood that

the new facility would eliminate many of the alleged constitutional violations outlined in Plaintiffs’

Complaint. Section VI of the Consent Decree was specifically dedicated to the “New Jail Facility”

and outlined the expectations of the parties for the construction of this constitutionally compliant

building.

           On September 14, 2015, OPSO began transitioning inmates from the old jail facilities into

the OJC. The OJC contains state-of-the-art jail technology and is functionally designed to house

inmates in constitutional living conditions, all while keeping both inmates and OPSO staff members

safe and secure. The living conditions for inmates in the OJC are drastically improved from those

of the former Orleans Parish jail facilities.




25
     See R. Doc. 1.
                                                    11
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        No longer are inmates housed in the run-down facilities of the past. Now, inmates are housed

in one of the most modern and functional jail facilities in the country.

        E. Receivership Proceedings - The Stipulated Agreement

        It is well settled among experts that transferring inmates into a new jail will always present a

significant challenge. A move in the corrections context is a complex set of tasks that requires staff

and other resources working together to ensure the move is successful. As stated in the Resource

Manual for Transition to a New Jail, “no matter how skilled in current operations staff are, they will

not know where everything is and how it works in the new facility.”26 The manual further provides,

“in the best of all possible worlds, transition teams would have all the time they need.”27 The



26
   Gail Elias & John Milosovich, Resource Manual for Transition to a New Jail, Ch. 1, p. 6, March 2005, NIC Accession
No. 020159.
27
   Id. at Ch. 2, p. 4.
                                                        12
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transition into the OJC was not simply moving inmates from one building to another. Rather, it would

take months or even up to a year to transition the inmates into their new accommodations and train

staff on the requirements of the new jail environment.

           Everyone knew this transition would take time, but Sheriff Gusman was not afforded the time

needed to transition successfully. On April 25, 2016, only a few months after the transfer of inmates

from the old jail facilities into the OJC, the Plaintiffs filed a Motion for an Order to Show Cause and

for Appointment of a Receiver to Implement Consent Judgment (the “Motion for Receivership”).28

In their Motion for Receivership, the Plaintiffs sought the overly broad relief of asking the Court to

appoint a Receiver to assist in the administration of the Orleans Parish Jail. This included the ability

to discipline, reassign, terminate, and promote Jail employees; develop and implement policies and

procedures; allocate Jail budget funds; and enter into contracts for Jail services.29 In support of this

requested relief, Plaintiffs argued that there was a regression from the progress with compliance with

the Consent Decree from the Monitors’ Report No. 4 to No. 5, which was finalized on March 17,

2016. Although the Plaintiffs and the Court were warned that rushing the inmate transfer from the

old to the new facility would likely result in a slight regression due to the complexities of the entire

transition, the Plaintiffs nevertheless seized on their opportunity to move for the drastic remedy of

receivership following Monitor Report No. 5.

           Sheriff Gusman ardently opposed the Motion for Receivership. Sheriff Gusman, after all,

was the publicly elected, multi-term Sheriff who successfully guided OPSO through the aftermath

of Katrina, drastically reduced the inmate population and bed count, and opened a state-of-the-art

constitutional jail facility in the OJC. Although there was still room for improvement to be made at

OPSO, the appointment of a receiver to completely take over operations of the jail was an



28
     See R. Doc. 1009.
29
     Id. at para. 8.
                                                   13
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extraordinary remedy that was not warranted under the circumstances. The court conducted an

evidentiary hearing on Plaintiffs’ motion which lasted several weeks. However, after significant

negotiations, but before Sheriff Gusman concluded his defense to the motion, the parties reached a

Court approved settlement.30 This Stipulated Agreement established that a Compliance Director

would be appointed to provide expertise and technical assistance with the operations of the jail and

help bring OPSO into compliance with the Consent Decree. Although the law favored Sheriff

Gusman’s legal position, Sheriff Gusman once again made a good faith and unselfish decision to

enter into the Stipulated Agreement. Sheriff Gusman has always, and will always, do what is best

for OPSO. Bringing in a corrections specialist who could assist OPSO in achieving substantial

compliance with the Consent Decree seemed prudent. Unfortunately, the Stipulated Agreement was

never implemented as intended.

        F. Appointment of Compliance Director

               i.    Former Director Maynard’s Unsuccessful Stint as Compliance Director

        On September 15, 2016, this Court ordered that Gary Maynard would serve as Compliance

Director at OPSO, with an effective start date of October 1, 2016.31 Gary Maynard boasted an

impressive resume which included stints serving as corrections chief for Iowa, South Carolina, and

Maryland. The Monitors collaborated with the Plaintiffs and DOJ to recommend Gary Maynard for

the Compliance Director position. The Monitors previously claimed that OPSO could be brought

into compliance in a brief amount of time once a corrections expert was appointed within the jail.

Inexplicably, they reversed course and subsequently claimed that their preferred expert could not

bring the jail into compliance. On January 18, 2018, the Monitors filed Monitors’ Report No. 8 into

the record.32 This Monitors’ Report emphasized that Director Maynard was not making the progress


30
   R. Doc. 1082.
31
   See R. Doc. 1097.
32
   See Monitors’ Report No. 8, R. Doc. 1143.
                                                14
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envisioned under the Stipulated Agreement, and in fact his inability to meet even minimal milestones

as the overseer of jail operations was alarming.

        On January 29, 2018, less than two weeks after Monitors’ Report No. 8 was filed, Director

Maynard submitted his resignation as Compliance Director after only 18 months. The parties who

previously recommended Director Maynard now questioned his ability to do the job. One of the

Plaintiffs’ lead counsel was quoted stating the following: “Gary Maynard’s tenure has been marked

with a deterioration of the conditions in the jail, not progress.”33 In addition to the Plaintiffs’

criticisms of Director Maynard, the Court likewise issued a stern criticism of Director Maynard

stating: “. . . While there has been some improvement in compliance over the course of Director

Maynard’s tenure, the Court is nonetheless dissatisfied with the pace of reform and lack of

compliance relating to numerous mandates of the consent decree. . .”.34

              ii.   Director Hodge’s Assistance with Achieving Compliance

        Following former Director Maynard’s resignation, the Court ordered that then Monitor

Darnley Hodge serve as interim Compliance Director until a new, permanent Compliance Director

could be selected by the Sheriff and approved by the Court.35 After several months of searching for

a permanent replacement for former Director Maynard, the only candidate that was ultimately

proposed to Sheriff Gusman for his approval was acting interim Director Hodge. Sheriff Gusman

had built a solid professional relationship with Director Hodge during his interim stint and believed

Director Hodge would be a valuable asset to OPSO. On October 12, 2018, Sheriff Gusman informed

the Court that he would accept interim Director Hodge to serve as OPSO’s Compliance Director.36

        Director Hodge previously served as the Court appointed Monitor overseeing correctional



33
   See https://www.nola.com/news/courts/article_65ea59af-87cf-58c0-b5b1-90b90e7be01c.html
34
   See R. Doc. 1151.
35
   See R. Doc. 1151
36
   See R. Doc. 1202.
                                                        15
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practices.        He has over forty (40) years of experience in law enforcement, jail leadership,

management, military, and consulting services. Among his many accomplishments, Director Hodge

has led two regional jails from the design and construction through activation and daily operation.

He did this while achieving 100% compliance with Virginia Board of Correction standards. Director

Hodge has provided consultation, evaluation, and policy guidelines for jails in the United States and

the U.S. Virgin Islands. He was named “Correctional Administrator of the Year” for Large Jails by

the American Jail Association.

              In the two years that Director Hodge has served as Compliance Director, OPSO has made

significant advancements in complying with the provisions of the Consent Decree. Prior to Director

Hodge’s appointment, OPSO was in Substantial Compliance with 23 provisions, Partial Compliance

with 104 provisions, and Non-Compliance with 44 provisions.37 As of the most recent Monitors’

Report, based upon the Monitors’ tour and evaluation in September 2019, OPSO is in Substantial

Compliance with 103 provisions, Partial Compliance with 66 provisions, and Non-Compliance with

only 5 provisions.38 This represents a 97% compliance rate, be it Substantial or Partial, with the

Consent Decree.

              It is well-documented that Director Hodge, Sheriff Gusman, and OPSO have made the

material progress necessary to terminate the Stipulated Agreement and abolish the position of

Compliance Director. This progress, however, does more than support termination of the Stipulated

Agreement. The progress achieved at OPSO is sufficient to satisfy the minimum standards of the

Constitution. As such, pursuant to Section §3626(b) of the PLRA, the entirety of the Consent Decree

should be terminated.

       III.      PRISON LITIGATION REFORM ACT – 18 U.S.C. §3626



37
     See Monitors’ Report No. 8, R. Doc. 1143.
38
     See Monitors’ Report No. 11, R. Doc. 1259.
                                                    16
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         A. History and Purpose of the PLRA

         For decades preceding its implementation, criticism regarding prisoner litigation culminated

in the Prison Litigation Reform Act of 1995. Prisoners, taking advantage of the increased availability

of civil rights claims, were one of the fastest growing plaintiff classes in the federal courts from 1960

to the present.39 In 1994, only a year before Congress introduced the PLRA, prisoners filed 60,086

cases in federal courts.40 In 1990, over 1,200 local prison systems, including those in major cities

such as New York, Philadelphia, and Detroit, were under federal court supervision.41 The rise in

prisoner litigation and prospective relief calling for extensive court involvement in prisons generated

significant negative attention.42 Prison administrators expressed frustration with judges taking on a

“micro-managing” function in the remedy phase of meritorious cases.43 Although the vast majority

of cases were deemed without merit, administrators were overwhelmed by having to answer

discovery requests and make court appearances.44 Local officials complained of the enormous

financial and political costs of complying with court-ordered relief and any effort to alter those

terms.45 Legislators blamed judicial activism for the state of prison litigation, finding unjustified

usurpation of local criminal justice systems.46 Many judges, burdened with increasing numbers of

pro se inmate complaints on crowded dockets and prison condition class actions, called for legislative

reform.47


39
   See Due Process Rights and Their Termination of Decrees Under the Prison Litigation Reform Act, Anne K. Heidel,
University of Pennsylvania Journal of Constitutional Law, April 2002, 4 U. Pa. J. Const. L. 561. Citing 142 Cong. Rec.
23,255 (1996)(statement of Sen. Abraham indicating that in 1995, inmates filed 63,550 federal actions.)
40
   Id. (citing 141 Cong. Rec. 14,572 (1995)(statement of Sen. Kyl citing statistics compiled by the Administrative Office
of the U.S. Courts.)
41
   Id. (citing Criminal Oversight, Wall St. J., June 10, 1996, at A18.)
42
   Id.
43
   Id. (citing John W. Palmer & Stephen E. Palmer, Constitutional Rights of Prisoners 338-39 (6th Ed. 1999).
44
   Id.
45
   Id. (citing Criminal Oversight, supra note 5, at A18 (“[T]he National Association of attorneys General estimates that
states spend $81 million a year on prisoner’s litigation.”); Inmates’ Suits No Joke, Boston Herald, Jan. 11, 1997, at 12.)
46
   Id. (citing 149 Cong. Rec. 18,695 (1994)(statement of Sen. Dole, future PLRA sponsor, supporting the nomination of
Justice Breyer to the Supreme Court.))
47
   Id. (citing, e.g., Gabel v. Lynaugh, 835 F.2d 124, 125, n.1 (5th Cir. 1988)(per curiam)(noting the court’s impatience
with “frivolous or malicious appeals” and threatening future sanctions.))
                                                             17
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         In 1995, Congress responded with the PLRA, which was signed by President Clinton as part

of the 1996 Appropriations Bill.48 The PLRA sponsors described “overzealous Federal

courts…micromanaging our Nation’s prisons,”49 and criticized “judicial orders entered under

Federal law [which] have effectively turned control of the prison system away from elected officials

accountable to the taxpayer, and over to the courts.”50 In response to these types of concerns, the

PLRA was enacted to require that remedies in prison condition lawsuits “do not go beyond the

measures necessary to remedy federal rights violations,”51 but rather are limited “to the minimum

necessary to correct the violation of the federal right.”52 In narrowing the scope of prospective relief

to be issued in prison litigation, the PLRA also sought to diminish the discretion of federal district

judges.53 By requiring that relief be the least intrusive means of remedying a violation of a federal

right, the PLRA “stops judges from imposing remedies intended to effect an overall modernization

of local prison systems or provide an overall improvement in prison conditions.”54

         B. Requirements of the PLRA

         Congress enacted the PLRA to prevent federal courts from micromanaging prisons with

consent decrees and to return control of the prison system form courts to “the elected officials

accountable to the taxpayer.”55 “[N]o longer may courts grant or approve relief that binds prison

administrators to do more than the constitutional minimum.”56 The PLRA requires that prospective

relief regarding prison conditions extend no further than necessary to correct the violation of the




48
   Id. (citing Pub. L. No. 104-134, 110 Stat. 1321 (1996).)
49
   141 Cong. Rec. S14418 (daily ed. Sept. 27, 1995)(remarks of Sen. Hatch).
50
   Id. at S14419 (remarks of Sen. Abraham).
51
   H.R. Rep. No. 104-378, at 166 (1995)H.R. Rep. No. 104-378, at 166 (1995).
52
   Id. at 24 n.2.
53
   See, e.g., Miller v. French, 530 U.S. 327, 328, 120 S. Ct. 2246, 147 L.Ed.2d 326 (2000)(explaining that “curbing the
equitable discretion of district courts was one of the PLRA’s principal objectives….”).
54
   H.R. Rep. No. 104-378 H.R. Rep. No. 104-378 at 166.
55
   Gilmore v. California, 220 F.3d 987, 996 (9th Cir. 2000).
56
   Id. at 999.
                                                            18
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Federal right of a particular plaintiff or plaintiffs.57 Relief must be narrowly drawn, extend no further

than necessary to correct the violation, and be the least intrusive means necessary to correct the

violation.58 Further, courts must give substantial weight to any adverse impact on public safety or

the operation of a criminal justice system caused by the relief.59

        These are codified requirements in the PLRA, and the United States legislative branch drafted

these direct and pointed restrictions with the full intention of the judiciary branch upholding them in

the court system.

        C. Legal Standards for Termination of Prospective Relief Pursuant to 18 U.S.C.
           §3626(b)

        The PLRA provides that any order for prospective relief regarding prison conditions is

terminable upon the motion of any party or intervener two years after a district court has granted or

approved the prospective relief. Specifically, 18. U.S.C. §3626(b) sets forth the standards for

termination of prospective relief, such as the Consent Decree, as follows:

                  (b) Termination of relief.--
                    (1) Termination of prospective relief.--(A) In any civil action
                    with respect to prison conditions in which prospective relief is
                    ordered, such relief shall be terminable upon the motion of any
                    party or intervener--
                       (i) 2 years after the date the court granted or approved the
                       prospective relief;
                       (ii) 1 year after the date the court has entered an order
                       denying termination of prospective relief under this
                       paragraph; or
                       (iii) in the case of an order issued on or before the date of
                       enactment of the Prison Litigation Reform Act, 2 years
                       after such date of enactment.
                    (2) Immediate termination of prospective relief.--In any civil
                    action with respect to prison conditions, a defendant or
                    intervener shall be entitled to the immediate termination of any
                    prospective relief if the relief was approved or granted in the
                    absence of a finding by the court that the relief is narrowly
                    drawn, extends no further than necessary to correct the violation

57
   18 U.S.C. §3626(a)(1).
58
   Id.
59
   Id.
                                                   19
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                        of the Federal right, and is the least intrusive means necessary
                        to correct the violation of the Federal right.
                        (3) Limitation.--Prospective relief shall not terminate if the
                        court makes written findings based on the record that
                        prospective relief remains necessary to correct a current and
                        ongoing violation of the Federal right, extends no further than
                        necessary to correct the violation of the Federal right, and that
                        the prospective relief is narrowly drawn and the least intrusive
                        means to correct the violation.
                        (4) Termination or modification of relief. --Nothing in this
                        section shall prevent any party or intervener from seeking
                        modification or termination before the relief is terminable under
                        paragraph (1) or (2), to the extent that modification or
                        termination would otherwise be legally permissible.

                   i.    Relevant Period for a “Current and Ongoing” Violation of a Federal Right

           To make the findings required to terminate prospective relief, the Court must take evidence

on current jail conditions, at least with respect to those remedies Plaintiffs do not concede Defendants

comply with constitutional requirements.60 Evidence of “current and ongoing” violations must reflect

conditions “as of the time termination is sought.”61 As such, in determining whether or not

prospective relief should be terminated, this Honorable Court must look at current and ongoing jail

conditions, not a history of previous jail conditions or those conditions that were in existence at the

time the Plaintiffs’ Complaint was filed or the Consent Decree was executed.

                  ii.    Section 3626(b)(3) Findings

           Under Section 3626(b)(3) of the PLRA, prospective relief shall not terminate only if the court

makes written findings based on the record that prospective relief remains necessary to correct a

current and ongoing violation of the Federal right, extends no further than necessary to correct the

violation of the Federal right, and that the prospective relief is narrowly drawn and the least intrusive

means to correct the violation.




60
     See Gilmore v. California, 220 F.3d 987-1010 (9th Cir. 2000).
61
     Id.; accord Pierce, 526 F.3d at 1205.
                                                             20
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        The United States Fifth Circuit Court of Appeal, as stated in Ruiz v. Ortiz62, has outlined the

procedure necessary for this Court to follow in analyzing whether or not prospective relief should be

terminated or continue.

        Although a district court’s decision to terminate or continue prospective relief is to be

reviewed for an abuse of discretion, where the court’s decision to terminate or continue such relief

“turns on the application of § 3626(b) of the PLRA, that interpretation is reviewed de novo.”63

        Under § 3626, unless a court makes specific written findings regarding the continuing

necessity of prospective relief, it must terminate such relief. Specifically, under § 3626(b)(3), a court

may not terminate prospective relief if it makes written findings based on the record that such relief

(1) “remains necessary to correct a current and ongoing violation of the Federal right,” (2) “extends

no further than necessary to correct the violation of the Federal right,” and (3) “is narrowly drawn

and the least intrusive means to correct the violation.”64

        Section 3626(b)(3) outlines specific standards to be followed when a district court considers

whether to terminate a consent decree providing for prospective relief. It requires “particularized

findings, on a provision-by-provision basis, that each requirement imposed by the consent decree

satisfies the need-narrowness-intrusiveness criteria, given the nature of the current and ongoing

violation.”65 “It is not enough [for the district court] to simply state in conclusory fashion that the

requirements of the consent decree satisfy those criteria.”66 Rather, “the district court should engage

in specific, provision-by-provision examination of the consent decree, measuring each requirement

against the statutory criteria.”67

        To comply with the standards set forth in § 3626(b)(3), a district court should first give the


62
   243 F.3d 941 (5th Cir. 2001).
63
   See Castillo v. Cameron County, Texas, 238 F.3d 339, 347 (5th Cir. 2001).
64
   18 U.S.C. § 3626(b)(3).
65
   Cason v. Seckinger, 231 F.3d 777, 785 (11th Cir. 2000).
66
   Id.
67
   Id.
                                                           21
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parties an opportunity to present evidence regarding whether or not there are any existing

unconstitutional conditions at the institution that is the subject of the consent decree.68 Next, the court

should review the record and determine whether there are indeed ongoing constitutional violations.69

        The court should then consider each provision of the consent decree in light of the current

and ongoing constitutional violations, if there are any, and determine which aspects of the decree

remain necessary to correct those violations.70 In Ruiz, the Court gave the following example:

                 . . .if the court finds a constitutional violation in the area of inmate
                 protection, a section of the consent decree regarding staffing issues
                 may be necessary if under staffing is contributing to the
                 unconstitutional conditions. However, if the excessive use of force is
                 the only constitutional violation found, then a provision regarding
                 crowding issues may no longer be necessary.71

        Finally, if there are remaining aspects of the decree which are still necessary, the court should

determine whether those parts of the decree are narrowly drawn and the least intrusive means to

correct the applicable violation.72 Ruiz again gave the following example:

                 . . . with respect to a violation in the area of inmate protection, if a
                 staffing provision remains necessary, it might not involve relief that is
                 narrowly drawn and the least intrusive if it covers positions that are
                 not commonly associated with the protection of inmates, such as
                 security positions or certain administrative positions dealing with the
                 reporting and investigation of complaints from inmates.73

        The procedure outlined above is mandated by § 3626(b)(3) and cannot be circumvented by a

mere recitation of the key statutory language. Instead, the requisite findings must be put in writing

with respect to each remaining aspect of prospective relief. See Cason74 (finding that § 3626(b)(3)

requires “[p]articularized findings, analysis, and explanations [to] be made as to the application of



68
   See Castillo, 238 F.3d at 355; Cason, 231 F.3d at 781–83; Ruiz, 243 F.3d at 950-951.
69
   Id.
70
   Ruiz, 243 F.3d at 950-951.
71
   Id. at 951.
72
   Id.
73
   Id.
74
   231 F.3d at 785.
                                                          22
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each criteria to each requirement imposed by the consent decrees.”). Otherwise, the district court

should terminate the unnecessary relief, assuming the other requirements for termination under §

3626 are met.

               iii.   Prospective Relief Defined under the PLRA

           The PLRA explicitly defines “prospective relief” as “all relief other than compensatory

monetary damages.”75 The term “relief,” in turn, is defined as “all relief in any form that may be

granted or approved by the court, and includes consent decrees but does not include private

settlement agreements.”76 When a statute includes an explicit definition, that statutory definition is

given controlling weight.77 Thus, the Court need look no further than the definitions found within

the PLRA to make the determination that the Consent Decree provides prospective relief that is

subject to termination.

     IV.      THE COURT APPOINTED JAIL MONITORS

           A. The Original Purpose of the Monitors

           After executing the Consent Decree, the parties acknowledged that a Jail Monitor would be

necessary to oversee the implementation of the Consent Decree and offer practical advice to OPSO

for obtaining compliance. By their own description, the Monitors are, “. . . appointed by and work

for and with the Federal Court. The monitoring team works closely with the Orleans Parish Sheriff’s

Office (OPSO), the City of New Orleans, the plaintiff class, the U.S. Department of Justice, and

citizens in assessing the OPSO’s compliance with the Consent Judgment governing conditions at the

Parish’s jail.”78 At the fairness hearing in 2013, the DOJ’s counsel described the purpose of the

Monitors as follows:



75
   § 3626(g)(7).
76
   § 3626(g)(9).
77
   See, e.g., Meese v. Keene, 481 U.S. 465, 484, 107 S. Ct. 1862, 95 L.Ed.2d 415 (1987).
78
   See www.nolajailmonitors.org/
                                                           23
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                  In addition, the decree calls for an independent monitor, and that’s
                  exactly what the independent monitor will do. The independent
                  monitor will look to see what’s being done at the facility and what’s
                  not. The monitor is not just someone to assess compliance. The
                  monitor also will guide compliance and provide technical assistance
                  to the facility to assist them in coming into compliance.79

         Sheriff Gusman welcomed the expertise of the Monitors as a valuable resource for OPSO.

Unfortunately, even though OPSO began to hit noteworthy milestones and achievements with

compliance, the Monitors refused to fairly evaluate their progress towards compliance. As time has

endured, it has become more than evident that OPSO’s compliance with the Consent Decree is not

being judged on the narrowly drawn, least intrusive means necessary standards set forth in the PLRA,

but rather moving targets and the impossible unconstitutional standard of absolute perfection.

         Congress addressed this issue head on with the enactment of the PLRA and the limitations

for prospective relief for jails. The PLRA provides that prospective relief should “extend no further

than necessary to correct the violation of the Federal right of a particular plaintiff or plaintiffs.”80

Relief must be narrowly drawn, extend no further than necessary to correct the violation, and be the

least intrusive means necessary to correct the violation.81 Further, courts must “give substantial

weight to any adverse impact on public safety or the operation of a criminal justice system caused

by the relief.”82 This is not what is being applied to OPSO.

         B. The United States Attorney General’s November 7, 2018 Memorandum

         The Monitor issues OPSO faces are not unique to OPSO. Rather, many other jails throughout

the country are similarly plagued with Monitors imposing their idealistic preferences in the

enforcement of consent decrees while turning a blind eye to the PLRA. The Attorney General of the

United States took notice and addressed this issue directly. On November 7, 2018, Attorney General


79
   See April 4, 2013 transcript of the fairness hearing, p. 66-67, R. Doc. 412.
80
   18 U.S.C. §3626(a)(1).
81
   Id.
82
   Id.
                                                              24
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Jeff Sessions issued a memorandum to the Department of Justice entitled: “Principles and

Procedures for Civil Consent Decrees and Settlement Agreements with State and Local

Governmental Entities.” (the “Memorandum”).83 In his Memorandum, the Attorney General

discussed the use of monitors for state and local governmental entities. Among the many issues

detailed concerning monitors, the Memorandum emphasized that monitors should operate with

sufficient accountability and oversight, and should adhere to a code of ethics so that conflicts of

interest – including a financial interest in prolonging the duration or expanding the scope of the

monitorship – are avoided.84 The Memorandum goes on to state:

                 In light of the monitor’s role in overseeing compliance with a
                 settlement that the Department believes is necessary to remedy a legal
                 violation and is otherwise in the interests of justice, good government
                 principles require that the Department structure agreements to ensure
                 that monitors have appropriate incentives to work efficiently and
                 effectively to bring the defendant into compliance with the terms of the
                 settlement agreement or consent decree and to ensure that monitors
                 act in the interests of justice and not in their own interest.85

The Memorandum then dictates that for cases in which a monitor is appointed, the following

guidelines must be followed, unless an exception is approved by the Deputy Attorney General or the

Associate Attorney General:

            1. The settlement agreement or consent decree must create incentives for
               the monitor to encourage early compliance with and conclusion of the
               settlement agreement or consent decree.

            2. In most cases, the monitor must be replaced at an appropriate interval,
               usually of no more than two to three years.

            3. Payment of costs and fees for the monitor’s services must be specified
               in the settlement agreement or consent decree and capped at a
               reasonable amount (requiring the monitor to complete remaining tasks
               even if the cap is met).



83
   See United States Attorney General’s November 7, 2018 Memorandum, attached hereto as Exhibit 3.
84
   Id.
85
   Id. at p. 7.
                                                        25
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               4. The monitor must be selected in accordance with the guidance set forth
                  in the Memorandum from Acting Associate Attorney General Stuart
                  F. Delery dated April 13, 2016, entitled Statement of Principles for
                  Selection of Corporate Monitors in Civil Settlements and Resolutions,
                  to avoid conflicts of interest and ensure that monitors are independent
                  and highly qualified.86

           As will be detailed below, several issues currently facing OPSO are in direct conflict with

the dictates of the PLRA and are the types of issues the Attorney General warns the DOJ of in his

Memorandum. These issues are precisely why the Attorney General felt it necessary to revise the

method in which the DOJ permits monitors in consent decree cases.

           C. Jail Monitor Compliance Issues

           This Motion to Terminate repeatedly discusses the absolute perfection standard being

imposed by the Monitors, as opposed to the constitutional minimum standard they should be applying

under the PLRA. The following sections detail specific incidents in which the Monitors are

preventing OPSO from achieving Substantial Compliance by applying these unreasonable standards.

                  i.    Prison Rape Elimination Act Certification

           Section IV.G of the Consent Decree relates to Youthful Prisoners. The Consent Decree

identifies the Prison Rape Elimination Act of 2003 (“PREA”), 42 U.S.C. §15601, et seq., as the

controlling source of Federal law which governs compliance with Section IV.G. OPSO was informed

by the Monitors that if it were to obtain a PREA Certification by an independent PREA auditor, it

would be in Substantial Compliance with all provisions of the Consent Decree related to PREA,

including Section IV.G. In fact, in Monitors’ Report No. 10, the Monitors’ observation stated that,

“OPSO has appropriately linked compliance with this provision to IV.A.12., Sexual Abuse and the

upcoming PREA audit.”87 This evidences the statements made by the Monitors that should OPSO

successfully pass the PREA audit, it would be in Substantial Compliance with Section IV.G. of the


86
     Id.
87
     See Monitors’ Report No. 10, p. 109, R. Doc. 1226.
                                                          26
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Consent Decree.

        From August 23 through August 25, 2019, an independent certified PREA auditor toured

OPSO and inspected documentation, including its policies and procedures. After touring the facility

and drafting her final report88, the auditor issued a Certificate of Achievement89, finding OPSO in

compliance with the Prison and Jails Standards set forth by the Prison Rape Elimination Act of 2003.

The auditors final report noted that, after a thorough audit, OPSO exceeded 6 standards, met 38

standards, and failed to meet 0 standards in the audit.90 The PREA auditor was highly impressed with

OPSO’s PREA compliance, and noted that it is exceptionally rare that a jail passes a PREA audit on

the first try, but OPSO did just that.

        As this Court is aware, in preparation for a Monitors’ Report, the Monitors typically make an

on-site visit at the OJC wherein they collect data and make site walks to compile the necessary

information to draft the Monitors’ Reports. After the initial visit, the Monitors will issue a draft

report to the Plaintiffs and OPSO for review and comment. Once the parties have an opportunity to

object or raise concerns to any issues in the draft reports, the Monitors will thereafter make a final

report which is filed into the record of this matter.

        The site visit prior to Monitors’ Report No. 11 took place in September 2019. In the Draft

Report91, circulated on November 27, 2019, the Monitors listed Section IV.G. in the Consent Decree

in Substantial Compliance due to OPSO’s successful passing of its PREA Audit. Therefore, OPSO

submitted no comments in the Draft Report. In the Final Report, however, the Monitors lowered the

grade to Partial Compliance, stating that “Documentation has not been presented regarding [sic] the

developmentally appropriate mental health and programming services.”92 OPSO, however, had



88
   See PREA Final Audit Report, attached hereto as Exhibit 4.
89
   See Certificate of Achievement, attached hereto as Exhibit 5.
90
   See PREA Final Audit Report, p. 10, attached hereto as Exhibit 4.
91
   See Draft Report of Monitors’ Report No. 11, attached hereto as Exhibit 6.
92
   See Monitors’ Report No. 11, p. 102, R. Doc. 1259.
                                                          27
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submitted its PREA policies, its Juvenile Policies, and the completed PREA Audit Report to the

Monitors as requested.

           OPSO passed the highly stringent certified PREA Audit from an independent qualified

auditor, yet the Monitors found that Section IV.G, which is governed by PREA, is not in Substantial

Compliance. Obtaining a PREA Certification is a significant accomplishment, but at a minimum, it

represents that OPSO is compliant with PREA and is ensuring constitutional compliance. It is

puzzling why the Monitors graded this provision in Partial instead of Substantial Compliance,

especially considering that in the previous report and in prior conversations they informed OPSO

that obtaining a PREA Certification would result in Substantial Compliance. This is an example of

a “moving target” evaluation by the Monitors that has plagued OPSO and the citizens of New Orleans

who bear this cost.

                 ii.       Food Service Non-Compliance in Report No. 10

           OPSO’s Non-Compliance with Section IV.D.3.b. in Monitors’ Report No. 10 is a keen

example of the overreaching standards demanded by the Monitors that far exceed the constitutional

minimum. Section IV.D. covers Sanitation and Environmental Conditions. Section IV.D.3.b.

provides that OPSO, “Ensure that dishes and utensils, food preparation and storage areas, and

vehicles and containers used to transport food are appropriately cleaned and sanitized on a daily

basis.”93 OPSO was found in Non-Compliance with this provision in Report No. 10. The Monitors

issued the following reasons in support of its decision to find Non-Compliance:

                          On January 15, 2019, the “Detergent Empty” audible and visible
                           alarms were alerting on the back of the automatic dishwasher. The
                           dishwasher was in use, the detergent canister was empty, and it is
                           unknown how long the dishwasher was running without detergent.
                           The detergent was refilled after the Monitor reported the problem
                           to kitchen staff. A properly functioning dishwasher including
                           dispensing of detergent is fundamental in ensuring that dishes and


93
     See Monitors’ Report No. 10, p. 97-98, R. Doc. 1226.
                                                            28
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                       utensils are appropriately cleaned and sanitized between uses.94

This issue was addressed with the kitchen staff and they informed OPSO that when the “Detergent

Empty” sign comes on, they will refill the detergent and re-run the dishwasher. The Monitor just

happened to walk through this area at the exact time the “Detergent Empty” signal had turned on.

This was explained to the Monitor, but it did not affect the finding of Non-Compliance.

                      On January 15, 2019, the Monitor observed a piece of potato on
                       the kitchen floor and found it to still be there over 24-hours later.
                       Upon closer examination, the Monitor found that it was covered in
                       mold. Based on this observation, it is evident that the floor in this
                       area was not cleaned and sanitized on a daily basis.95

Once this was relayed to OPSO’s attention, the kitchen staff found this small potato skin on the floor

in an area under a cart. It was hidden from sight and had to be specially sought out as it was not in

the main area and was under equipment.

                      Bakery equipment was observed to be dirty with dried, caked on
                       food debris. The Monitor was informed that one of the pieces of
                       equipment had not been operational since 2015 and another piece
                       of equipment had not worked “for years.” OPSO and CBM Summit
                       is clearly not ensuring that food preparation equipment is cleaned
                       and sanitized on a daily basis as is essential to maintain a hygienic
                       kitchen environment.96

By her own admission, the Monitor acknowledges in the report that she was informed that the alleged

“dirty” equipment was not operational and had not been in use for years. Since it was not in use,

OPSO was not using this alleged “dirty” equipment to prepare or serve food to the inmates. In fact,

upon information and belief it was kept in a closet away from the main cooking areas. Nevertheless,

the Monitor used this alleged dirty equipment that was not in use to give OPSO a designation of

Non-Compliance with the Consent Decree.

          Non-Compliance is the worst designation OPSO can receive for a provision of the Consent


94
   Id. at p. 98.
95
   Id.
96
   Id.
                                                      29
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Decree. Non-Compliance should mean that the condition is unconstitutional and constitutes a federal

wrong to the inmates. To recap, this Monitor found Non-Compliance based on: dishwashing

detergent running out; a potato skin stuck to the floor under a cart; and a dirty piece of equipment

that was not in use and not in the main cooking area. Assume OPSO was in Substantial Compliance

with every provision of the Consent Decree for 18 months and then this Monitor issues a finding of

Non-Compliance for the above reasons. OPSO would thereafter have the clock on termination re-

set for another two years for Substantial Compliance.

        This type of perfection standard was never anticipated when the Consent Decree was

executed, and it certainly exceeds the constitutional minimums under the PLRA. “The Eighth

Amendment requires only that prisoners receive food that is adequate to maintain health; it need not

be tasty or aesthetically pleasing. The fact that food sometimes is served cold, while unpleasant,

does not amount to a constitutional deprivation.”97 Similarly, the above instances noted by the

Monitors certainly do not rise to the level of a constitutional deprivation. This example, similar to

the Jail Camera example discussed in the introduction, are the types of nitpicked findings that are

keeping OPSO from reaching Substantial Compliance with the Consent Decree pursuant to the

Monitors’ perfection standards.

              iii.   Reduction from Substantial to Partial Compliance without Explanation or
                     Warning

        There has been a troubling pattern wherein OPSO was given the designation of Substantial

Compliance in the Draft Report, but in the Final Report the grading was reduced to Partial

Compliance without any warning or notice to OPSO. This is a major concern because OPSO relies

on the designation of Substantial Compliance when commenting on the Draft Reports.                             If a

designation of Substantial Compliance is given, there is no need for OPSO to comment or defend


97
  LeMaire v. Maass, 12 F.3d 1444, 1456 (9th Cir. 1993); see also Toussaint v. Yockey, 722 F.2d 1490, 1493 (9th Cir.
1984).
                                                         30
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itself because it has achieved its goal. For some inexplicable reason, on several occasions with

Monitors’ Report No. 11, areas were marked in Substantial Compliance in the Draft Report, but

when the final report was released, OPSO was downgraded to Partial Compliance. Of course, since

these designations were changed without warning, OPSO was unable to offer feedback on these

positions as it was unaware they changed. The following are examples of this occurrence in

Monitors’ Report No. 11:

                   In the Draft Report, Section IV.A.7.b. was graded as Substantially
                    Compliant. This provision of the Consent Decree provides that OPSO
                    must: “Continue to ensure that Facility watch commanders document
                    all reportable incidents by the end of their shift, but no later than 24
                    hours after the incident, including prisoner fights, rule violations,
                    prisoner injuries, suicide attempts, cell extractions, medical
                    emergencies, found contraband, vandalism, escapes and escape
                    attempts and fires.” In the Final Report, however, this grade was
                    dropped down to partially compliant without any explanation. The
                    Final Report simply states that because all reports are not timely
                    submitted, this section is in Partial Compliance, without citing to any
                    specific incidents warranting this demoted designation.

                   In the Draft Report, Section IV.A.7.f. was graded as Substantially
                    Compliant. This provision of the Consent Decree provides that OPSO
                    must: “Maintain a system to track all reportable incidents that, at a
                    minimum, includes the following information . . ..” Although
                    previously deemed in Substantial Compliance in the Draft Report,
                    when the Final Report was released, this grade was dropped down to
                    Partial Compliance without explanation.98 This Section only requires
                    that a system be put in place to track incidents, and lists the required
                    information that the system must track. OPSO successfully updated
                    the AS400 system to include all of the required elements. In the Draft
                    Report, the Monitors found that the AS400 met these requirements. In
                    the Final Report, however, the Monitors state that some information is
                    not gathered by staff.

                   In the Draft Report, Section IV.B.8.a. was given a grade of Substantial
                    Compliance. When the Final Report was issued, however, this Section
                    was downgraded to Partial Compliance without warning. The
                    comments by the Monitors in the Draft Report and Final Report were
                    identical, and there was no information on why the grade was demoted
                    to Partial Compliance. Furthermore, this Section only requires that
                    OPSO have staffing sufficient to provide “adequate care” and “fulfill
98
     See Monitors’ Report No. 11, page 32, R. Doc. 1259.
                                                           31
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                    constitutional mandates.” OPSO maintains that it has sufficient
                    staffing to satisfy this Consent Decree requirement.

                   In the Draft Report, regarding Section VII.B., the Monitors state that
                    “OPSO has provided documentation that it now [sic] developing plans
                    to identify serious deficiencies, and to address problems that are
                    uncovered during the course of quality improvement activities to
                    warrant a finding of substantial compliance.”99 Then, once again
                    without warning or additional feedback, the Monitors changed this
                    Section from Substantial Compliance to Partial Compliance in the
                    Final Report, even stating the same language verbatim from the Draft
                    Report (which found Substantial Compliance). The Final Report goes
                    on to state that “These plans could benefit from being more thorough
                    such as the development of corrective action to be taken and the
                    auditing of adherence to the action plan.”100 OPSO complied with this
                    provision in the Consent Decree, which the Monitors agreed, but then
                    once again they inexplicably reduced the findings to Partial
                    Compliance stating that it could simply be better.

        These instances wherein the Monitors reduce areas from Substantial to Partial Compliance

without forewarning to OPSO has caused significant issues and persists to be an unnecessary hurdle

OPSO must overcome.

                 iv.   Findings of Partial or Non-Compliance without a Legitimate Basis

        The Monitors often give a designation of Partial or Non-Compliance for an area of the

Consent Decree even though there is clear documentation to the contrary and no basis for not finding

Substantial Compliance. In the Draft Report, the Monitors stated that Section IV.A.5.h. was not in

Substantial Compliance because no documentation or proof of training was provided. This was not

accurate. OPSO submitted a comment to the Draft Report stating that the documentation was in fact

provided and was still available on the DropBox link to be viewed at any time.101 In the Final Report,

the Monitors’ kept the same language as the Draft Report, with zero changes, despite being informed

that their position was incorrect.102


99
   See Draft Report of Monitors’ Report No. 11, page 104, attached hereto as Exhibit 6.
100
    Id.
101
    See Draft Report of Monitors’ Report No. 11, page 104, attached hereto as Exhibit 6.
102
    See Monitors’ Report No. 11, p. 28, R. Doc. 1259.
                                                         32
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           As another example, in the Draft Report, the Monitors listed Section IV.D.1.h. in Partial

Compliance, stating that the policy is not complete. Section IV.D.1.h. provides that OPSO:

“Maintain an infection control plan that addresses contact, blood borne, and airborne hazards and

infections. The plan shall include provisions for the identification, treatment, and control of

Methicillin-Resistant Staphylococcus Aureus (“MRSA”) at the Facility.” OPSO, however, created,

submitted, and had this exact policy approved by the Monitors on October 31, 2018. OPSO

challenged this designation of Partial Compliance in the Draft Report, but received no feedback and

the Final Report still listed this Section in Partial Compliance. Again, this policy was approved by

the Monitors in 2018, yet they continue to find only Partial Compliance with the Consent Decree.

                  v.     Request for Guidance but Receiving Little to No Feedback

           There have been several instances wherein the Monitors do not find OPSO to be in Substantial

Compliance but have not provided feedback on what is needed for Substantial Compliance. For

instance, in Section IV.A.10 of the Consent Decree, OPSO submitted several comments requesting

more information on what is needed to achieve Substantial Compliance.103 OPSO received no

response to this request for information.

           Section IV.B. of the Consent Decree provides another good example. Throughout the entirety

of this Section on Mental Health Care, the Monitors often only write 1-2 sentences without any actual

substance.104 It is difficult to determine from these vague, uninformative sentences what OPSO is

failing to do to achieve Substantial Compliance. Consequently, OPSO often requests additional

information. No additional information is provided. Furthermore, these sentences from the Monitors

remain the same from one report to the next and often simply parrot the language of the Consent

Decree.



103
      See Draft Report of Monitors’ Report No. 11, page 104, attached hereto as Exhibit 6.
104
      See Monitors’ Report No. 11, R. Doc. 1259.
                                                           33
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                  vi.    Failure to Find Substantial Compliance with Semi-Annual Reports

            Sections IV.B.5.j, IV.B.5.k, IV.B.6.g., IV.C.2.a, and IV.C.2.b. of the Consent Decree relate

to the required semiannual reports, which OPSO has consistently and timely submitted as required

in the Consent Decree. OPSO has received a marking of Substantial Compliance from all other

Monitors for timely submitting their semiannual reports except for Drs. Greifinger and Patterson

(see, e.g., Sections IV.A.3.g., IV.A.5.l, IV.A.6.a, IV.A.6.b., IV.A.7.h., IV.A.7.i., IV.A.7.j, IV.A.8.d,

IV.A.8.e, IV.A.8.f, IV.A.10.g, IV.A.10.h., IV.B.6.f., IV.D.4.a., IV.D.4.b, IV.E.2.a., IV.E.2.b,

VIII.A.) Drs. Greifinger and Patterson refuse to find OPSO in Substantial Compliance with these

provisions because they desire extra documentation and analysis outside of the requirements set forth

in the Consent Decree. After the Draft Report was issued, OPSO immediately submitted comments

challenging these findings, however, only Section IV.B.6.f. was changed from Non-Compliance to

Substantial Compliance. Drs. Greifinger and Patterson refused to change the remaining Sections

into Substantial Compliance and have provided no feedback as to why.

                 vii.    Drawn Out Monitor Reports Provide Minimal Time for Corrective Actions

            In September 2019, the Monitors toured the OPSO facility and began gathering their

information in anticipation of drafting Monitors’ Report No. 11. On November 27, 2019, the

Monitors provided OPSO with the Draft Report. Thereafter, OPSO provided its feedback and

challenged many of the findings (some of which are described above). Many of these concerns were

never addressed. The Final Report, Monitors’ Report No. 11, was then submitted to the Court on

January 19, 2020, approximately five (5) months after the Monitors toured the OJC. Then, the

Monitors were set to return for the next site visit for Report No. 12 in March 2020.105 As stated in

the sections above, many areas were reduced from Substantial Compliance to Partial Compliance in

the Draft Report to the Final Report without providing OPSO with reasons or knowledge that the


105
      Note that this tour did not take place as a result of the Covid-19 pandemic.
                                                                 34
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Monitors intended to reduce these areas. By delaying the time from their physical tours to issuance

of the Final Report, the Monitors essentially set OPSO up for failure because of the timeliness

associated with fixing issues identified by them.

         D. Costs/Expenses Associated with Monitors

                i.       The Cost of the Monitors has been significant for OPSO and the City.

         During the fairness hearing on April 4, 2013, the Court asked counsel for the DOJ if the

federal government was willing to pay the cost of an independent monitor.106 In response, counsel

for the DOJ stated that the issue had not been discussed, “But we are always happy to sit down and

have discussions.”107 Unfortunately, the cost associated with the Monitors was passed along to the

taxpayers of New Orleans. OPSO must include the costs for the Consent Decree into its budget which

is funded by the City.108 Thus, the City of New Orleans funds all things related to compliance with

the Consent Decree. A breakdown of the costs to date are as follows:

                        Since it was executed in 2013, there have been 11 Monitors, 2
                         Compliance Directors and the following hard costs have been paid
                         to the Monitors and Plaintiffs’ attorneys
                                 * Monitors’ Costs:         $3,740,723.38
                                 * Plaintiffs’ Fees:        $2,600,000.34
                                           * TOTAL:         $6,340,723.72

                        This does not include other fees associated with the Consent
                         Decree, such as Compliance Director salary and related positions.

OPSO avers that it is in compliance with the Consent Decree and it should be terminated. If ended,

the resources expended by the City in the continued efforts to meet these shifting standards would

also end.

               ii.       Lack of incentive to find Substantial Compliance.

         As noted by the United States Attorney General in his November 7, 2018 Memorandum,


106
    See April 4, 2013 Transcript of Fairness Hearing, p. 65, R. Doc. 412.
107
    Id.
108
    See Declaration of Elizabeth Boyer, para. 9, attached hereto as Exhibit 1.
                                                            35
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“Monitors should operate with sufficient accountability and oversight, and should adhere to a code

of ethics so that conflicts of interest – including a financial interest in prolonging the duration or

expanding the scope of the monitorship – are avoided.”109 The Attorney General incorporated this

into his Memorandum because of his awareness that Monitors, who are paid by the hour for the work

completed at jails, could have a potential conflict of interest for not finding Substantial Compliance

with the Consent Decree. The Attorney General found it necessary to have renewed guidelines for

the appointment, compensation and duration of Monitors to “ensure that monitors have appropriate

incentives to work efficiently and effectively to bring the defendant into compliance with the terms of

the settlement agreement or consent decree and to ensure that monitors act in the interests of justice

and not in their own interest.”110 Regrettably, there is presently no incentive for the Monitors to find

OPSO in Substantial Compliance with the Consent Decree. Thus, when this Court considers the

findings of the Monitors in the Monitors’ Reports, it must be cognizant of this inherent conflict of

interest.

       V.      TERMINATION OF THE CONSENT DECREE IS WARRANTED PURSUANT
               TO 18 U.S.C. §3626(b)

            A. OPSO is Eligible for Termination of the Consent Decree

            18 U.S.C.A. §3626(b) sets forth the statutory provisions which provide for termination of a

civil action with respect to prison conditions. Specifically, §3626(b) sets forth the following:

                   (b) Termination of relief.--
                      (1) Termination of prospective relief.--(A) In any civil action
                      with respect to prison conditions in which prospective relief is
                      ordered, such relief shall be terminable upon the motion of any
                      party or intervener--
                         (i) 2 years after the date the court granted or approved the
                         prospective relief;
                         (ii) 1 year after the date the court has entered an order
                         denying termination of prospective relief under this
                         paragraph; or

109
      See Attorney General’s November 7, 2018 Memorandum, page 6, attached hereto as Exhibit 3.
110
      Id. at p. 7.
                                                       36
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                           (iii) in the case of an order issued on or before the date of
                           enactment of the Prison Litigation Reform Act, 2 years
                           after such date of enactment.

           The Consent Decree was approved by this Court on June 6, 2013, nearly 7 years ago. Thus,

this Motion to Terminate satisfies §3626(b)(1)(i) as it is filed more than 2 years after the date the

Court granted or approved the Consent Decree.

           The language in Section XI.(C) of the Consent Decree stating that it shall not terminate until

Substantial Compliance with the Consent Decree is maintained for a period of two years is of no

consequence. Section XI.(C) clearly violates federal law in that it directly contradicts the rights

afforded to OPSO in section §3626(b)(1)(i) of the PLRA.

           B. The Consent Decree Must Be Terminated

                   i. OPSO is in compliance with the Consent Decree, despite the findings of the
                      Monitors.

           As argued throughout this Motion, the standard currently being applied by the Monitors in

the enforcement of the Consent Decree is not the legal standard for prospective relief in prison

litigation under the PLRA. Thus, it is immaterial if the Monitors only found 103 of 174 areas of the

Consent Decree in Substantial Compliance based on their standards. The standard that applies to

OPSO, the constitutional minimum standard, has been achieved. There are no current or ongoing

violations that warrant the prospective relief set forth in the Consent Decree.

           In U.S. v. Territory of the Virgin Islands, the court addressed this exact issue.111 There, the

court concluded that a March 2011 Special Master Report evaluating the prison’s compliance with

the consent decree,

                    . . . evaluates Defendants’ actions through the prism of compliance
                    rather than considering whether Defendants’ responses, while
                    potentially falling short of compliance, were nonetheless sufficient to
                    rise above the constitutional floor. See Hadix v. Johnson, 228 F.3d
                    662, 670 (6th Cir. 2000) (“The fundamental problem with the district

111
      884 F. Supp. 2d, 399, 417 (2012).
                                                        37
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                  court’s order is that it focused not on the inquiry required by the
                  PLRA, but rather on the question whether the consent decree had been
                  substantially complied with.”) In other words, there is reason to be
                  concerned that the undergirding purpose of the March 2011 Special
                  Master Report – to evaluate Defendants’ compliance with the Orders
                  of the Court – has caused the Special Master’s analysis to be filtered
                  through the perspective of compliance in such a way as to diminish its
                  utility for the constitutional inquiry. Thus, if the Court were to embrace
                  the Special Master’s characterizations of the judgments about
                  Defendants’ failures and improvements vis-à-vis compliance, it may
                  run the risk of obscuring the inquiry regarding the conditions at
                  Golden Grove relative to the constitutional baseline.112

          Similarly, this Court must not look at the Monitors’ findings regarding compliance with the

Consent Decree because any of the findings of Non or Partial Compliance are immaterial to its

ultimate analysis. Rather, this Court must focus its inquiry on the requirements of the PLRA, and

the constitutional floor set forth therein. OPSO has worked tirelessly on achieving a constitutionally

compliant jail facility since the Consent Decree was executed seven years ago. It has achieved this

goal. No longer can Plaintiffs claim that individuals housed in the OJC are at imminent risk of

serious harm, such as rapes, sexual assaults and beatings.113 No longer can Plaintiffs claim that

inmates with serious mental illnesses languish without treatment.114 No longer can Plaintiffs claim

that an over populated jail has dangerously deficient classification and security policies which pose

a constant risk of harm.115 Once this Court applies the appropriate standard under the PLRA, it will

inevitably conclude that there are no current or ongoing violations of the inmates constitutional

rights.

                ii. The Court must consider current jail conditions, not those alleged when the
                    Consent Decree was executed.

          When deciding whether to terminate the Consent Decree, the Court must take evidence on



112
    Id.
113
    See Plaintiffs’ Complaint, para. 2, R. Doc. 1.
114
    Id.
115
    Id.
                                                     38
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current jail conditions with respect to those remedies Plaintiffs do not concede comply with

constitutional requirements.116 In a recently decided case, J.U. v. Salt Lake County,117 the district

court granted Defendants’ Motion to Terminate Consent Decree because circumstances at the jail

changed since the entry of the consent decree in that matter. The court opined that:

                  Put plainly, history has moved on and the Consent Decree is simply
                  out of date. The old Salt Lake County Jail was abandoned. The new
                  Salt Lake County Jail was built. . . . The Consent Decree sought to
                  correct conditions in a markedly different facility than exists currently
                  and it imposed requirements on specific units of the Third East facility
                  that simply no longer exist. . . . In addition to physical changes, there
                  has been a shift in attitude toward mental illness since the Consent
                  Decree was entered. The Complaint filed in 1982 alleged nightmarish
                  scenarios in which Defendants largely ignored mentally-ill inmates. .
                  . It is against this backdrop the parties settled their differences and the
                  court entered the Consent Decree. There is no evidence in this record
                  to suggest defendants currently exhibit this type of indifference to
                  inmates’ mental health. Accordingly, the court will vacate the Consent
                  Decree. The court does so, in part, because the facility at issue in the
                  Consent decree no longer exists. . . In sum, the Consent Decree is not
                  necessary to correct any current or ongoing comparable violation at
                  the new Salt Lake County Jail.118

         A keenly similar scenario exists here. The Court cannot look at the conditions that existed at

the time the Consent Decree was executed in 2013, or when Plaintiffs’ Complaint was filed in 2012.

Those complaints of federal violations were based on conditions that existed at that time, in the old

OPP and prior to the substantial changes made at OPSO. Like the court found in J.U. v. Salt Lake

County above, history has moved on since the execution of the Consent Decree, especially in light

of the new jail facility. There are no current and ongoing federal violations at OPSO which warrant

the intrusive relief outlined in the Consent Decree, and thus it should be terminated.

              iii. If the Court determines that a current or ongoing violation exists, it must then
                   conduct a § 3626(b)(3) analysis to determine if the provision satisfies the need-
                   narrowness-intrusiveness criteria.


116
    See Gilmore v. California, 220 F.3d 987, 1010 (9th Cir. 2000).
117
    2019 WL 1170767 (D. Utah 2019).
118
    2019 WL 1170767 at 3-4.
                                                            39
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        If the Plaintiffs object to this Motion to Terminate, under the PLRA, the Court is thereafter

required to conduct an evidentiary hearing and give the parties an opportunity to present evidence

regarding whether or not there are any current or ongoing constitutional violations.119 If the Court

determines that there is a constitutional violation, it must then analyze the provision of the Consent

Decree applicable to this violation and determine if the provision satisfies the need-narrowness-

intrusiveness criteria.

        A Section 3626(b)(3) analysis requires “particularized findings, on a provision-by-provision

basis, that each requirement imposed by the consent decree satisfies the need-narrowness-

intrusiveness criteria, given the nature of the current and ongoing violation.”120 “It is not enough

[for the district court] to simply state in conclusory fashion that the requirements of the consent

decree satisfy those criteria.”121 Rather, “the district court should engage in specific, provision-by-

provision examination of the consent decree, measuring each requirement against the statutory

criteria.”122

        There should be no dispute that at least 103 provisions of the Consent Decree warrant

immediate termination. The Court appointed Monitors have found that OPSO is in Substantial

Compliance with 103 provisions of the Consent Decree. Thus, the analysis at the evidentiary hearing

should focus on the remaining provisions of the Consent Decree, and analyze on a provision-by-

provision basis whether the 66 areas in Partial Compliance, and the 5 areas in Non-Compliance,

satisfy the need-narrowness-intrusiveness criteria of the PLRA, should the Court determine a

constitutional violation still exists. If this Honorable Court determines that these provisions satisfy

this statutory requirement, it must then make written findings based on the record that such relief (1)



119
    See Castillo, 238 F.3d at 355; Cason, 231 F.3d at 781–83; Ruiz, 243 F.3d at 950-951.
120
    Cason v. Seckinger, 231 F.3d 777, 785 (11th Cir. 2000).
121
    Id.
122
    Id.
                                                           40
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“remains necessary to correct a current and ongoing violation of the Federal right,” (2) “extends

no further than necessary to correct the violation of the Federal right,” and (3) “is narrowly drawn

and the least intrusive means to correct the violation.”123

               iv. Director Hodge believes OPSO is in Substantial Compliance with the Consent
                   Decree.

         On May 1, 2020, Director Hodge was quoted in an article published by thelensnola.org

regarding his opinions on Sheriff Gusman’s recent court filing seeking to terminate the Stipulated

Agreement and the position of Compliance Director.124 When asked about his thoughts on the filing,

Director Hodge stated:

                  Well that is what is outlined in the consent judgment, if the sheriff gets
                  to a point where he feels that the compliance director had made – what
                  are the exact words – ‘material compliance,’ he can petition the court
                  to remove the compliance director on that basis. So I think that’s a
                  good thing that he feels that I have made material progress. I believe
                  that we have done more than make material progress.125

         Director Hodge, however, believes the progress has been more than material. Director Hodge

went on to be quoted saying, “I personally believe that we are in substantial compliance with 100

percent of that consent judgment. That’s just my opinion.”126

         Director Hodge’s position regarding compliance with the Consent Decree is correct. He

possesses the keen insight as acting Compliance Director, and one-time Court appointed jail Monitor,

to offer this factually based determination. He is intimately familiar with the Consent Decree, the

standard being applied to OPSO, and the progress that has been made. This Honorable Court should

defer to Director Hodge’s assessment and so too find that OPSO is in compliance with the Consent

Decree.



123
    18 U.S.C. §3626(b)(3).
124
     See https://thelensnola.org/2020/05/01/official-in-charge-of-jail-says-he-thinks-its-in-shape-for-sheriff-gusman-to-
retake-control/
125
    Id.
126
    Id.
                                                           41
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       VI.      IMMEDIATE TERMINATION OF THE STIPULATED AGREEMENT –
                COMPLIANCE DIRECTOR APPOINTMENT – IS WARRANTED

             A. Procedure for Termination of Compliance Director Position

             Section E(2) of the Stipulated Agreement provides the termination procedure for terminating

the position of Compliance Director as follows:

                    No sooner than nine months after the appointment of the Compliance
                    Director, the Sheriff may file a motion to terminate the Compliance
                    Directorship on the basis that the Compliance Director has enabled
                    the Orleans Parish Jail to achieve material progress with substantial
                    compliance with all provisions of the Consent Judgment, as defined
                    in Paragraph A.2. Prior to filing such a motion, the moving Party shall
                    request a status conference with the Court. The other parties shall
                    have an opportunity to respond to or oppose that motion. The Court
                    will order an evidentiary hearing and permit all reasonable discovery
                    associated with the Motion.(emphasis added)

             B. Material Progress with Substantial Compliance Has Been Achieved

             OPSO is in Substantial Compliance with the Consent Decree, which warrants termination of

the entirety of the Consent Decree. Thus, at a minimum OPSO has achieved material progress with

Substantial Compliance with all provisions of the Consent Decree, which satisfies the standard

necessary to terminate the Stipulated Agreement under Section E(2).

             Monitors’ Report No. 5 was based on the Monitors’ tour that occurred in February 2016.

This Report was filed into the record on March 17, 2016.127 The Stipulated Agreement was approved

by this Court on June 21, 2016. Therefore, improvement from the areas found to be in Substantial

Compliance in Monitors’ Report No. 5 is the measure by which the Court must judge whether

“material progress with substantial compliance” has been achieved per the Stipulated Agreement.

             In Monitors’ Report No. 5, OPSO was in Substantial Compliance with 10 provisions, Partial

Compliance with 96 provisions, and Non-Compliance with 63 provisions.128 As of the most recent



127
      See Monitors’ Report No. 5, R. Doc. 996.
128
      See Monitors’ Report No. 5, R. Doc. 996.
                                                      42
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Monitors’ Report, based upon the Monitors’ tour and evaluation in September 2019, OPSO is in

Substantial Compliance with 103 provisions, Partial Compliance with 66 provisions, and Non-

Compliance with only 5 provisions.129 Thus, Director Hodge has facilitated OPSO improving the

areas of Substantial Compliance from 10 to 103. This material progress is precisely what is

contemplated in Section E(2) of the Stipulated Agreement and, therefore, the Stipulated Agreement,

and the position of Compliance Director, should be terminated immediately.

       VII.    REQUEST FOR EVIDENTIARY HEARING

           OPSO further respectfully requests an evidentiary hearing on this matter. Under Section E(2)

of the Stipulated Agreement, the Court must order an evidentiary hearing and permit all reasonable

discovery associated with the Motion. Furthermore, an evidentiary hearing is required on OPSO’s

Motion to Terminate the Consent Decree if the Plaintiffs or DOJ object to the Motion.

       VIII. CONCLUSION

           For the reasons discussed hereinabove, OPSO respectfully moves this Honorable Court to

terminate the Consent Decree, and, further, to terminate the Stipulated Order for Appointment of

Independent Jail Compliance Director.

                                                         Respectfully submitted,

                                                         CHEHARDY, SHERMAN, WILLIAMS,
                                                         MURRAY, RECILE, STAKELUM
                                                         & HAYES, LLP

                                                         /s/ James M. Williams_________________
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                                                         -and-

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      See Monitors’ Report No. 11, R. Doc. 1259.
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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on this 26th day of May 2020, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage pre-

paid.


                                                      /s/ James M. Williams_________________
                                                      James M. Williams




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